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UNITED STATES OF AMERICA

-vs- Case No. 2:01cr20017-001D

LEE CHAMPION

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a bond revocation hearing is set for
THURSDAY, MAY 5, 2005 at 10:00 A.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

Date: May 2, 2005 »<l/{W g %[,WF

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

IIf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial ofticer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justi ce, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness orjuror.

AO 470 [8!85) Order of Temporary Detentic\n

iSTRiCT COURT - WE'T'RN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 122 in
case 2:0]-CR-200]7 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listcd.

 

 

PDA

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U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

